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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LUXOTTICA GROUP S.p.A. and OAKLEY,
INC.,                                               Case No. 18-cv-05876

                        Plaintiffs,                 Judge John Robert Blakey

       v.                                           Magistrate Judge Maria Valdez
ZHENG ZE, et al.,

                        Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs Luxottica

Group S.p.A. and Oakley, Inc. (“Plaintiffs”) hereby dismisses this action with prejudice as to the

following Defendants:

              Defendant Name                                           Line No.
                 successdc                                              1030
      Rayda International(HK)Co.,Limited                                1032
                  Minecarts                                              1035

Dated this 11th day of January 2019.         Respectfully submitted,

                                             /s/ Justin R. Gaudio
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                                             Justin R. Gaudio
                                             RiKaleigh C. Johnson
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